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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA            )
                                    )
      v.                            )              Criminal No. 22-CR-10038-IT
                                    )
ARIEL LEGASSA                       )

              Motion for Leave to File Sentencing Memorandum Two Days Late

       Defendant Ariel Legassa hereby moves for leave to file his Sentencing

Memorandum two days late. Pursuant to the court’s Amended Procedural Order re:

Sentencing dated November 7, 2023, Mr. Legassa’s sentencing Memorandum was due seven

days prior to the scheduled sentencing hearing. Other professional and personal obligations

prevented undersigned counsel from complying with that deadline. For those reasons, Mr.

Legassa seeks leave to file his sentencing memorandum two days late.




                                                   ARIEL LEGASSA
                                                    By his attorney,

                                                   /s/ E. Peter Parker
                                                   E. Peter Parker
                                                     B.B.O. #552720
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                                       Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on February 22,
2024.

                                                      /s/ E. Peter Parker
                                                      E. Peter Parker




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